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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION

UNITED STATES OF AMERICA,                      §
                                               §
                        Plaintiff,             §
                                               §
VS.                                            §        Criminal No. 2:16-CR-083-D(1)
                                               §
MOISES JIMENEZ,                                §
                                               §
                        Defendant.             §

                                             ORDER

          Defendant’s August 18, 2017 motion for leave to file motion to suppress is denied. The

motion was filed over one month after the July 17, 2017 motion deadline, after the August 16, 2017

pretrial conference, and on the Friday afternoon before trial is scheduled to commence on Monday,

August 21, 2017—i.e., literally at the eleventh hour. Defendant maintains that his counsel did not

see the search warrants until he recently received materials from the United States Attorney. But

search warrants are routinely discoverable well before trial in the exercise of due diligence.

Defendant’s current counsel entered the case on June 14, 2017. He could easily have obtained

copies of the search warrants within the approximately two months between that date and today.

The motion is clearly untimely, and defendant has failed to demonstrate good cause for the late

filing.

          Additionally, defendant appears to maintain in his proposed motion to suppress that the

county court judge who issued the search warrant lacked the authority to do so. But he does not

address the Leon good faith exception that applies when officers execute a search pursuant to a

warrant. "Under the good-faith exception, evidence obtained during the execution of a warrant later

determined to be deficient is admissible nonetheless, so long as the executing officers’ reliance on
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the warrant was objectively reasonable and in good faith.” United States v. Payne, 341 F.3d 393,

399 (5th Cir. 2003) (citing United States v. Leon, 468 U.S. 897, 921-25 (1984)).

       Defendant’s August 18, 2017 motion for leave to file motion to suppress is denied.

       SO ORDERED.

       August 18, 2017.



                                            _________________________________
                                            SIDNEY A. FITZWATER
                                            UNITED STATES DISTRICT JUDGE




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